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 9                               UNITED STATES DISTRICT COURT
10                            NORTHERN DISTRICT OF CALIFORNIA
11
                                     SAN FRANCISCO DIVISION
12
     IN RE: CATHODE RAY TUBE (CRT)             Master File No. CV-07-5944 SC;
13   ANTITRUST LITIGATION                      No. CV-13-03234-SC
14                                             MDL No. 1917
15

16                                             [PROPOSED] AMENDED ORDER
                                               GRANTING PRELIMINARY APPROVAL
17                                             OF CLASS ACTION SETTLEMENTS
                                               WITH THE PHILIPS, PANASONIC,
18                                             HITACHI, TOSHIBA, SAMSUNG SDI,
19                                             THOMSON AND TDA DEFENDANTS

20
     This document relates to:
21                                             Courtroom: One, 17th Floor
     ALL INDIRECT PURCHASER ACTIONS;           Judge: Honorable Samuel Conti
22

23   Luscher et al. v. Videocon Industries
     Limited, et al.
24

25

26

27

28


          [PROPOSED] AMENDED ORDER GRANTING MOTION FOR PRELIMINARY APPROVAL
                                Master File No. CV-07-5944-SC
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 1          It is hereby ORDERED AND DECREED as follows:

 2          The motion of the Indirect Purchaser Plaintiffs (“Plaintiffs”) for preliminary approval of

 3   the Proposed Settlements with the Philips, Panasonic, Hitachi, Toshiba, Samsung SDI, Thomson

 4   and TDA Defendants (as identified in each of their respective Settlement Agreements and

 5   inclusive of named related entities) (collectively “Settling Defendants”) is hereby GRANTED.

 6          1.      The Proposed Settlements with the Settling Defendants are preliminarily

 7   approved, subject to a final approval hearing of the Proposed Settlements (the “Fairness

 8   Hearing”).

 9          2.      For purposes of the Settlements with Settling Defendants, the Court preliminarily

10   finds that the requirements of Rule 23 of the Federal Rules of Civil Procedure have been satisfied

11   with respect to the Settlement Class. At this preliminary certification phase, and only for

12   purposes of the settlements with Settling Defendants, the Settlement Class is defined as follows:

13
            NATIONWIDE CLASS:
14
            All persons and or entities who or which indirectly purchased in the United States
15          for their own use and not for resale, CRT Products1 manufactured and/or sold by
            the Defendants, or any subsidiary, affiliate, or alleged co-conspirator thereof, at
16
            any time during the period from March 1, 1995 through November 25, 2007.
17          Specifically excluded from this Class are claims on behalf of Illinois persons (as
            defined by 740 ILCS 10/4) for purposes of claims under 740 Ill. Comp. Stat §
18          10/7(2), Oregon natural persons (as defined by ORS 646.705 (2)) for purposes of
            claims under ORS § 646.775(1), and Washington persons (as defined by RCW
19          19.86.080) for purposes of claims under RCW 19.86.080 (1). Also specifically
            excluded from this Class are the Defendants; the officers, directors or employees
20
            of any Defendant; any entity in which any Defendant has a controlling interest;
21          and, any affiliate, legal representative, heir or assign of any Defendant. Also
            excluded are named co-conspirators, any federal, state or local government
22          entities, any judicial officer presiding over this action and the members of his/her
            immediate family and judicial staff, and any juror assigned to this action.
23

24

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     1
27     CRT Products are defined in the Settlement Agreements to mean Cathode Ray Tubes of any
     type (e.g. color display tubes, color picture tubes and monochrome display tubes) and products
28   containing Cathode Ray Tubes.
                                             -1-
          [PROPOSED] AMENDED ORDER GRANTING MOTION FOR PRELIMINARY APPROVAL
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 1          INDIRECT PURCHASER STATE CLASSES:

 2          All persons and or entities in Arizona, California, District of Columbia, Florida,
            Iowa, Kansas, Maine, Michigan, Minnesota, Mississippi, New Mexico, New York,
 3
            North Carolina, North Dakota, South Dakota, Tennessee, Vermont, West Virginia,
 4          and Wisconsin who or which indirectly purchased for their own use and not for
            resale, CRT Products manufactured and/or sold by the Defendants, or any
 5          subsidiary, affiliate, or alleged co-conspirator thereof, at any time during the
            period from at least March 1, 1995 through November 25, 2007.
 6
            All persons and entities in Hawaii who or which indirectly purchased for their
 7
            own use and not for resale CRT Products manufactured and/or sold by the
 8          Defendants, or any subsidiary, affiliate, or alleged co-conspirator thereof, at any
            time from June 25, 2002 through November 25, 2007.
 9
            All persons and entities in Nebraska who or which indirectly purchased for their
10          own use and not for resale CRT Products manufactured and/or sold by the
11          Defendants, or any subsidiary, affiliate, or alleged co-conspirator thereof, at any
            time from July 20, 2002 through November 25, 2007.
12
            All persons and entities in Nevada who or which indirectly purchased for their
13          own use and not for resale CRT Products manufactured and/or sold by the
            Defendants, or any subsidiary, affiliate, or alleged co-conspirator thereof, at any
14          time from February 4, 1999 through November 25, 2007.
15
            Specifically excluded from these Classes are the Defendants; the officers, directors
16          or employees of any Defendant; any entity in which any Defendant has a
            controlling interest; and, any affiliate, legal representative, heir or assign of any
17          Defendant. Also excluded are named co-conspirators, any federal, state or local
            government entities, any judicial officer presiding over this action and the
18          members of his/her immediate family and judicial staff, and any juror assigned to
19          this action.

20
            3.      The Court concludes that, for the sole purpose of the Proposed Settlements with
21
     Settling Defendants, and without adjudication on the merits, the Settlement Class is sufficiently
22
     well-defined and cohesive to merit preliminary approval.
23
            4.      Pursuant to Rule 23(a) (1), the Court determines that the Settlement Class is so
24
     numerous that joinder of all members is impracticable.
25
            5.      For purposes of preliminary approval, the commonality requirement of Rule
26
     23(a)(2) is satisfied because Plaintiffs have alleged one or more questions of fact and law
27
     common to the Settlement Class, including whether Settling Defendants violated the Sherman
28
                                             -2-
          [PROPOSED] AMENDED ORDER GRANTING MOTION FOR PRELIMINARY APPROVAL
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 1   Antitrust Act, 15 U.S.C. § 1, et seq., and the antitrust and/or various other laws of the following

 2   states: Arizona, California, Florida, Hawaii, Iowa, Kansas, Maine, Michigan, Minnesota,

 3   Mississippi, Nebraska, Nevada, New Mexico, New York, North Carolina, North Dakota, South

 4   Dakota, Tennessee, Vermont, West Virginia, Wisconsin and the District of Columbia.

 5           6.      Pursuant to Rule 23(a)(3), the Court hereby appoints as Representative Plaintiffs

 6   of the Settlement Class all of the individuals identified in the Court’s class certification order

 7   (Dkt. No. 1950) and the Interim Special Master’s Report and Recommendation (Dkt. No. 1742),

 8   incorporated herein by reference, and finds that, for settlement purposes only, these

 9   Representative Plaintiffs’ claims are typical of the claims of the Settlement Class. The claims of

10   the Representative Plaintiffs and absent class members rely on the same legal theories and arise

11   from the same alleged conspiratorial conduct by Defendants, namely, the agreement to fix, raise,

12   maintain and/or stabilize prices of CRTs sold in the United States.

13           7.      The Court preliminarily finds that the Representative Plaintiffs will fairly and

14   adequately protect the interests of the Settlement Class in satisfaction of the requirements of Rule

15   23(a)(4) because: (1) the interests of the Representative Plaintiffs are consistent with those of the

16   Settlement Class members; (2) there appear to be no conflicts between or among the

17   Representative Plaintiffs and the other Settlement Class members; (3) the Representative

18   Plaintiffs have been and appear to be capable of continuing to be active participants in both the

19   prosecution and the settlement of this litigation; and (4) the Representative Plaintiffs and the

20   Settlement Class members are represented by qualified, reputable counsel who are experienced in

21   preparing and prosecuting large, complicated class action cases, including those concerning

22   violations of antitrust law.

23           8.      The Court preliminarily finds that, for purposes of these Settlements only,

24   questions of law or fact common to members of the Settlement Class predominate over questions

25   affecting only individual members of the Settlement Class under Rule 23(b)(3). Further, a class

26   action resolution in the manner proposed in the Proposed Settlements would be superior to other

27   available methods for a fair and efficient adjudication of the litigation with respect to Settling

28   Defendants. In making these preliminary findings, the Court has considered, inter alia, (1) the
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 1   interest of the Settlement Class members in individually controlling the prosecution or defense of

 2   separate actions; (2) the impracticality or inefficiency of prosecuting or defending separate

 3   actions; (3) the extent and nature of any litigation concerning these claims already commenced;

 4   and (4) the desirability of concentrating the litigation of the claims in a particular forum.

 5          9.       The Court hereby approves Mario N. Alioto and Trump, Alioto, Trump &

 6   Prescott, LLP as Settlement Class Counsel pursuant to Rule 23(g), and finds that this Settlement

 7   Class Counsel has and will fairly and adequately protect the interests of the Settlement Class.

 8          10.      The Court finds that the Proposed Settlements fall within the range of possible

 9   final approval. The Court further finds that there is a sufficient basis for notifying class members

10   of the Proposed Settlements, and enjoining class members from continuing this litigation against

11   Settling Defendants pending the conclusion of the Fairness Hearing.

12          11.      The Notice Company, Inc. is approved to serve as Settlement Administrator for

13   the Indirect Purchaser Settlement Class.

14          12.      The Court approves the form and content of the Detailed Notice, the Summary

15   Notice and the Email Notice, substantially in the form attached hereto as Exhibits A-C,

16   respectively.

17          13.      The Court finds that notice by publication in various national newspapers,

18   magazines and on the internet, together with direct mail and email notice to potential Class

19   Members, as described in the Declaration of Joseph Fisher filed concurrently with the motion for

20   preliminary approval, constitutes the best notice practicable under the circumstances, is due and

21   sufficient notice to the Indirect Purchaser Settlement Class and complies fully with the

22   requirements of Federal Rule of Civil Procedure 23 and the due process requirements of the

23   Constitution of the United States.

24          14.      The Court preliminarily approves the plan of distribution proposed by the

25   Plaintiffs in the motion for preliminary approval and approves the proposed claim form

26   substantially in the form attached hereto as Exhibit D.

27          15.      Within thirty (30) days from the date of this Order, Settlement Class Counsel is

28   hereby directed to cause the Summary Notice to indirect purchasers, to be published according to
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 1   the Notice Plan described in the Declaration of Joseph Fisher, filed concurrently with the motion

 2   for preliminary approval. The Summary Notice shall direct interested parties to a website,

 3   www.CRTclaims.com, maintained by the Settlement Administrator, where the Detailed Notice

 4   will be provided.

 5          16.     All requests for exclusion from the Settlement Class must be postmarked no later

 6   than sixty (60) days from the date of publication of notice, and must otherwise comply with the

 7   requirements set forth in the Detailed Notice.

 8          17.     Any class member who does not properly and timely request exclusion from the

 9   Proposed Settlements shall, upon final approval of the Proposed Settlements, be bound by the

10   terms and provisions of the Proposed Settlements so approved, including but not limited to the

11   releases, waiver and covenants described in the Proposed Settlements, whether or not such person

12   or entity objected to the Proposed Settlements and whether or not such person or entity makes a

13   claim against the Settlement Fund.

14          18.     Any member of the Settlement Class who objects to the Proposed Settlements

15   must do so in writing. The objection must include the caption of this case, be signed, and be

16   submitted to the Court (either by mail or by filing it with the Court) no later than sixty (60) days

17   from the date of publication of notice, and shall otherwise comply with the requirements set forth

18   in the Detailed Notice, including submission of proof of membership in the class. Failure to

19   timely submit a written objection in accordance with the requirements in the Detailed Notice will

20   preclude a class member from objecting to the Proposed Settlements.

21          19.     The Notices shall inform putative members of the Settlement Classes that the

22   deadline for the submission of Claim Forms is 120 days from the Notice Publication Date.

23          20.     Any member of the Settlement Class who wishes to speak at the Fairness Hearing

24   must submit a “Notice of Intent to Appear in In re Cathode Ray Tube (CRT) Antitrust Litigation,

25   MDL No. 1917” to the Court no later than sixty (60) days from the date of publication of notice,

26   and shall otherwise comply with the requirements set forth in the Detailed Notice.

27          21.     The Court will hold a Fairness Hearing on ____________
                                                               November ___,
                                                                           13 2015 at _________
                                                                                       10:00

28   ___.m.,
      a      to determine the fairness, reasonableness, and adequacy of the Proposed Settlements with
                                              -5-
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 1   Settling Defendants. Any member of the Settlement Class who follows the procedure set forth in

 2   the notices may appear and be heard at this hearing. The Fairness Hearing may be continued

 3   without further notice to the Settlement Class.

 4          22.     All briefs, memoranda and papers in support of final approval of the Proposed

 5   Settlements, including an affidavit or declaration of the person under whose general direction the

 6   publication of the Summary Notice and the Detailed Notice were made, showing that publication

 7   was made in accordance with this Order, shall be filed no later than twenty-one (21) days before

 8   the Fairness Hearing and shall be posted on the internet at www.CRTclaims.com. Any briefs,

 9   memoranda and papers in support of a request for attorneys’ fees or reimbursement of litigation

10   expenses shall be filed not later than fourteen (14) days before objections to the Proposed

11   Settlements are due, and shall be posted on the internet at www.CRTclaims.com.

12          23.     The total attorney fee request for all Plaintiffs’ counsel in this litigation shall not

13   exceed one-third of the combined Settlement Fund of $576,750,000.

14          24.     The Court approves the establishment of an escrow account, as set forth in the

15   Proposed Settlements, as “Qualified Settlement Funds” pursuant to Treas. Reg. § 1.468B 2(1).

16   The Court retains continuing jurisdiction over any issues regarding the formation or

17   administration of the escrow account. Settlement Class Counsel and his designees are authorized

18   to expend funds from the escrow accounts to pay Taxes, Tax Expenses and notice and

19   administration costs, as set forth in the Proposed Settlements.

20          25.     The Court grants Plaintiffs’ Counsel the right to use the Settlement Fund for

21   payment of the cost of notice(s) to potential members of the Settlement Class regarding the

22   Proposed Settlements and related matters, without the approval of the Court in each instance, so

23   long as (a) the expenses incurred or contracted for are reasonable and necessary to carry out the

24   transactions contemplated by the Proposed Settlements, and (b) counsel for Settling Defendants

25   shall receive from Settlement Class Counsel a full accounting of all expenditures made in the

26   event funds are returned to Settling Defendants under the terms of the Proposed Settlements.

27

28
                                              -6-
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                                                            WHAT THIS NOTICE CONTAINS
    BASIC INFORMATION ........................................................................................................................   Page 3
     1. What is this Notice about?
     2. What is a Cathode Ray Tube (“CRT”)?
     3. What is a CRT Product?
     4. What is the lawsuit about?
     5. What is a class action?

    WHO IS INCLUDED IN THE LAWSUIT ..............................................................................................                Page 5
     6. Who are the Defendant companies?
     7. How do I know if I am in the Settlement Class?

    THE SETTLEMENTS’ BENEFITS .......................................................................................................            Page 7
     8.    What do the Settlements provide?
     9.    How much money can I get?
     10. When will I get a payment?

    HOW TO GET A PAYMENT .................................................................................................................       Page 8
     11. How can I get a payment?

    RIGHT TO EXCLUDE YOURSELF .......................................................................................................            Page 8
      12. Who has the right to be excluded?
      13. How do I exclude myself from the Settlement Class?

    REMAINING IN THE SETTLEMENT CLASS .................................................................................                          Page 9
     14. What am I giving up if I remain a member of the Settlement Class?

    THE LAWYERS REPRESENTING YOU ..............................................................................................                  Page 9
     15. Do I have a lawyer representing me?
     16. How will the lawyers be paid?

    OBJECTING OR COMMENTING ON THE NEW SETTLEMENTS, PLAN OF
    DISTRIBUTION, ATTORNEYS’ FEES, LITIGATION EXPENSES, AND AWARDS
    TO CLASS REPRESENTATIVES         ...................................................................................................         Page 10
       17.     How do I object or comment on the Settlements?

    THE FAIRNESS HEARING .................................................................................................................       Page 10
     18. When and where will the Court consider the New Settlements, the plan of
           distribution, request for attorneys’ fees, litigation expenses and awards to Class
           Representatives?
     19. Do I have to come to the hearing?
     20. May I speak at the hearing?

    GET MORE INFORMATION ............................................................................................................            Page 11
     21. Where can I get more information?



                                                                                 2
                                      VISIT www.CRTclaims.com OR CALL TOLL FREE 1-800-xxx-xxxx
                                PARA UNA NOTIFICACIÓN EN ESPAÑOL, VISITAR NUESTRO WEBSITE O LLAMAR
                                                                                   
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                  EXHIBIT B
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                                 Class  action  settlements  have  been  reached  involving  Cathode  Ray 
                                 Tubes (“CRTs”), a display device that was sold by itself or as the main 
                                 component  in  TVs  and  computer  monitors.    The  lawsuit  claims  that 
                                 the  Defendants  fixed  the  prices  of  CRTs  causing  consumers  to  pay 
                                 more  for  CRTs  and  products  containing  CRTs,  such  as  TVs  and 
                                 computer  monitors  (collectively  “CRT  Products”).    The  Defendants 

         If You Bought           deny Plaintiffs’ allegations.  
                                  



                                                Who is included in the Settlements? 
            Televisions, 
                                  


                                 Individuals and businesses that: 
                                  




                                         Purchased a CRT or a product containing a CRT, such as a TV 
             Computer                     or  computer  monitor,  in  the  United  States  (except  Illinois, 
                                          Washington  and  Oregon)  between  March  1,  1995  and 

              Monitors            
                                          November 25, 2007; 
                                       For their own use and not for resale. 
                                 Purchases  made directly  from  a  defendant  or  alleged co‐conspirator 
                                 are  not  included  (see  the  list  of  defendants  and  alleged  co‐
                                 conspirators at www.CRTclaims.com or by calling 1‐800‐xxx‐xxxx).  
          or Other Products       



                                                 What do the Settlements provide? 
                 Containing
                                  


                                 There are seven new Settlements totaling $541.75 million.  Together 
                                 with  the  two  previously‐approved  settlements,  the  Settlement  Fund 
                                 is  $576.75  million.    Only  individuals  and  businesses  who  purchased 
                                 CRT Products in AZ, CA, FL, HI, IA, KS, ME, MI, MN, MS, NE, NV, NM, 
          Cathode Ray            NY,  NC,  ND,  SD,  TN,  VT,  WV,  WI,  or  the  District  of  Columbia,  are 
                                 eligible to file a claim for money.  HI, NE and NV have shorter claims 
                                 periods.  The purchase must have been made in one of the foregoing 
                Tubes            states,  but  you  do  not  have  to  be  a  resident  of  one  of these  states.  
                                 The  Settlements  release  the injunctive  relief  claims  of  purchasers  of 
                                 CRT Products nationwide. 
                                  




                                 The  amount  of  money  you  will  receive  depends  on  the  type  and 
     Get Money from              quantity  of  CRT  Products  you  purchased  and  the  total  number  of 
                                 claims made.  Eligible individuals and businesses are expected to get a 
                                 minimum  payment  of  $25.    Large  purchasers  could  recover  many 
    $576.75 Million in           thousands of dollars.  
                                  



                                                       How can I get a payment? 
         Settlements              


                                 Claim  online  or  by  mail  by  XXXX  xx,  2015.    The  simple  online  Claim 
                                 Form only takes 3‐5 minutes for most individuals. 
                                      



                                                           What are my rights? 
                                  




    Simple Online                If you do nothing you will be bound by the Court’s decisions.  If you 
                                 want  to  keep  your  right  to  sue  the  Defendants,  you  must  exclude 
                                 yourself  from  the  Settlement  Class  by  XXXX  xx,  2015.    If  you  stay  in 
       Claim Form                the Settlement Class, you may object to the Settlements by XXXX xx, 
                                 2015.  
Takes 3‐5 Minutes                 


                                 The  Court  will  hold  a  hearing  on  XXXX  xx,  2015  at  xx:xx  a.m.  to 
                                 consider  whether  to  approve  the  Settlements  and  a  request  for 
                                 attorneys’ fees plus reimbursement of litigation expenses and awards 
                                 to  Class  Representatives.    The  total  attorney  fee  request  for  all 
                                 Plaintiffs’  counsel  shall  not  exceed  one‐third  of  the  $576.75  million 
                                 Settlement Fund.  The hearing date may change so please check the 
                                 website.    You  or  your  own  lawyer  may  appear  and  speak  at  the 
                                 hearing at your own expense.   
                                  




                                 1‐800‐xxx‐xxxx   www.CRTclaims.com
     For More Information:       Text: “CRTclaims” to XXXXX (text messaging rates may apply)  
                                 PLEASE DO NOT CONTACT THE COURT 
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                  EXHIBIT C
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                                           Email Notice

Subject: Important Legal Notice - You Could Get Money from a Settlement Involving TVs and
Computer Monitors

A Federal Court authorized this notice. This is not a solicitation from a lawyer.

If You Bought Televisions, Computer Monitors, or Other Products Containing Cathode Ray
Tubes, You Could Get Money from Settlements Totaling $576.75 Million.

A Simple Online Claim Form and more detailed notice of the Settlements is available online at
www.CRTclaims.com <active link> or by calling toll-free at 1-800-xxx-xxxx.

Please read the notice carefully. Your legal rights may be affected whether or not you act.

> The deadline to submit a Claim Form is ________, 2015.
> The deadline to object is ________, 2015.
> The deadline to exclude yourself is ________, 2015.

Only individuals and businesses who purchased CRT Products in AZ, CA, FL, HI, IA, KS, ME,
MI, MN, MS, NE, NV, NM, NY, NC, ND, SD, TN, VT, WV, WI, or the District of Columbia,
are eligible to file a claim for money. Be sure to check your eligibility by going to
www.CRTclaims.com <active link>.

CRT Claims Administrator
c/o The Notice Company
P.O. Box 778
Hingham, MA 02043
1-800-xxx-xxxx
www.CRTclaims.com


--------------- End of Email Notice ---------------

[Note: In order to increase the chances that an email message will be delivered to and opened by
the intended recipients, neither the Detailed Notice nor the Summary Notice will be attached to
the email. Some email recipients will automatically delete, without opening, emails containing
attachments if the sender is unknown. In addition, various email servers have implemented the
following bounce feature: “Mail Block - Attachment Detected (MBAD)”, which indicates that
the recipient’s email server will block an email because the message contains an attachment.
This may be reported as “552 Disapproved attachment.”]
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